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                              UNTED STATES DISTRICT COURT
                              EASTERN DISTRICT OF VIRGINIA
                                   Newport News Division

 JAMES T. PARKER, II and
 DEBRA L. PARKER,

                Plaintiffs,

 v.                                                            Civil Action No.: 4:18cv00140

 FREEDOM MORTGAGE
 CORPORATION, et al.,

                Defendants.


      PLAINTIFF’S MOTION IN LIMINE TO ESTABLISH FACTS NOT IN DISPUTE

        Plaintiffs James T. Parker II and Debra Parker, move in limine to prohibit the Defendant

 Freedom Mortgage Corporation from making suggestions, statements, argument, or introducing

 evidence or witnesses at trial. Plaintiffs also move in limine to be allowed to introduce certain

 facts. For the reasons explained more fully in the accompanying Memorandum of Law, the

 Plaintiff seeks entry of an order to:


        1.      Prohibit any suggestion or evidence that Defendant did anything to learn of its
                obligations or requirements under the FCRA.

        2.      Prohibit any suggestion or evidence that Defendant’s reporting of the Plaintiffs’
                mortgage account at issue in this lawsuit was a mistake or error.

        3.      Any information not actually considered in the dispute process used for Plaintiffs’
                disputes.

        4.      Prohibit any suggestion or evidence that Plaintiffs are barred from bringing this
                action in this Court, or that they are in the wrong court, or any other argument that
                they are in an improper venue.

        5.      Prohibit any reference to the June 20, 2017 letter Defendant’s Counsel sent to
                Plaintiff’s Counsel.
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        6.     Prohibit Plaintiff’s Counsel’s paralegal Donna Winters from testifying.

        7.     Prohibit any reference to Ocwen records pertaining to Plaintiffs.

        8.     Prohibit any testimony in contradiction of Defendant’s Rule 30(b)(6) Deposition
               testimony.

        9.     Prohibit the use of any evidence that was requested, but not timely produced, as
               well as any evidence in possession of the Defendant but not timely disclosed
               pursuant to FED. R. CIV. P. 26(a)(1) & (e).

        10.    Prohibit any reference to:

               a. the fact that Plaintiff’s claims are brought under a fee-shifting statute;

               b. the Plaintiff’s settlement with any other entity;

               c. any other litigation, other than Plaintiffs’ prior litigation against Freedom,
                  involving Plaintiffs or any other claims they may have; and

               d. the number or nature of cases handled by the Plaintiff’s attorneys or their law
                  firms.

        11.    Allow introduction of specific facts of the pre-existing settlement agreement
               between Plaintiffs and Defendant.

 For the reasons explained in the accompanying memorandum in support of this motion, Plaintiffs

 respectfully seek an Order prohibiting introduction of evidence, testimony or argument on the

 foregoing issues as well as permitting the introduction of specific facts concerning the

 aforementioned settlement agreement.




 Dated: October 4, 2019.
                                                      Respectfully submitted,

                                                      JAMES T. PARKER, II and
                                                      DEBRA L. PARKER


                                                      By:     /s/
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                                                              Counsel

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                                                      Counsel for Plaintiff




                                  CERTIFICATE OF SERVICE

        I hereby certify that on the 4th day of October 2019, I caused a true and correct copy of the

 foregoing to be filed using the Clerk of Court’s CM/ECF system, which then sent a notice of

 electronic filing to all Counsel of Record.


                                                      By:     /s/
                                                              Counsel

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